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                                             NON-CONFIDENTIAL VERSION


IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


 HYUNDAI STEEL COMPANY,

                Plaintiff,               Before: Hon. M. Miller Baker,
                                                 Judge
          V.

 UNITED STATES,                          Court No. 21-00304

                Defendant,               NON-CONFIDENTIAL VERSION
          and
                                         Business Proprietary
 NUCOR CORPORATION,                      Information Removed from
                                         Pages 2, 3, 5, 6
                Defendant-
                Intervenor.



    DEFENDANT-INTERVENOR NUCOR CORPORATION'S
                 RESPONSE BRIEF

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Dated: September 29, 2022
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                             GLOSSARY

AUL

  Average Useful Life

Commerce

  U.S. Department of Commerce

CORE

   Corrosion-Resistant Steel Flat Products

DSM

  Dongkuk Steel Mill Co., Ltd.

GOK

   Government of Korea




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I.      INTRODUCTION

      On behalf of Defendant-Intervenor Nucor Corporation (Nucor"), we

respectfully submit this response to the July 18, 2022 opening brief

submitted by Plaintiff Hyundai Steel Company ("Hyundai"). See Pl.

Hyundai Steel Co.'s Br. in Supp. of its Mot. for J. on the Agency R.

(July 18, 2022), ECF 34-2 ("Hyundai's Brief'). Nucor incorporates by

reference the responsive arguments made in Defendant the United

States' September 15, 2022 brief, and offers here additional defenses of

the challenged determination. See Def.'s Resp. to Pl.'s R. 56.2 Mot. for J.

Upon the Agency R. (Sept. 15, 2022), ECF 37.

II.     BACKGROUND

      Under the U.S. trade remedy laws, asubsidy exists wherever a

government authority (1) provides afinancial contribution and

(2) thereby confers abenefit upon the recipient. 19 U.S.C. §§ 1677(5)(A)-

(E). Financial contributions can take anumber of forms, including a

government's decision to forego revenue that would otherwise be due to

it. Id. §1677(5)(D). Any kind of benefit accruing to the respondent as

result of such acontribution is a"benefit" for purposes of the law. Id.

§677(5)(E); see also Id. §351.503.



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  This appeal arises from the 2018 administrative review of the

countervailing duty order on corrosion-resistant steel flat products

("CORE") from the Republic of Korea ("Korea"), conducted by the U.S.

Department of Commerce ("Commerce"). Hyundai challenges

Commerce's determination to countervail certain revenue foregone by

the Government of Korea ("GOK"), relating to the right to collect user

fees for certain port facilities at North Incheon Harbor. Hyundai's Brief

at 12-36.

  The record indicates that to secure certain port facilities that would

be advantageous to it, while considering that Korean law requires that

all port facilities be owned by the GOK, Hyundai entered into an

agreement with the GOK. See, e.g., Appx1022-1023. Pursuant to the

agreement, Hyundai constructed port facilities for which the GOK [

                                           ]. Appx1022-1023; Appx8221;

Appx8227; Appx8239-8244. Hyundai agreed to transfer ownership of

the port facilities to the GOK; the GOK agreed to (1) allow Hyundai to

use the port facilities without paying fees that Hyundai would

otherwise owe the GOK as the facilities' owner, and (2) transfer the

GOK's right to collect and retain fees from other users to Hyundai for a



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period of 41 years and 8months. Appx1023; Appx1059; Appx8229-8230


([                    1); Appx8239-8240; Appx8257-8259; Appx8401-8403.

Commerce preliminarily determined that Hyundai's arrangement with

the GOK provided afinancial contribution and abenefit, because it

gave Hyundai the right to fees that otherwise only the GOK would have

the right to collect. Appx1023.

     Hyundai argued in its case brief that the right to use the port

facilities free of charge provided it with no benefit, but was meant only

to compensate Hyundai for the costs of constructing the port facilities.

Appx20591-20604. Hyundai argued that the value of the free use right

was not "excessive" given the costs to Hyundai of constructing the port

facilities. Appx20591-20595. Hyundai further likened the value of the

free use right to the GOK's repayment of adebt to Hyundai.

Appx20595-20604.

     In its rebuttal brief, Nucor pointed out that the GOK provided

Hyundai not only with the right to use the port facilities for free, but

the right to collect and retain fees from other users. Appx20780-20785.

While Hyundai's challenge to the preliminary results focused on the

free usage right, the separate right to collect and retain fees from other



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users was itself aform of foregone government revenue. Appx20782.

Further, Hyundai's actions with respect to the fee-collection right

undermined its claim not to have received afinancial contribution or

benefit. Appx20782-20785.

  In the final results, Commerce continued to find both afinancial

contribution and abenefit. Appx1057-1061. A financial contribution

existed because the GOK had foregone collection of revenues it was

entitled to collect, ceding the right to collect those revenues to Hyundai.

Appx 1059. Commerce additionally explained that because Hyundai

was entitled to collect fees without transmitting them to the GOK, a

benefit was conferred. Appx1059-1060. Commerce explained that it

would be inappropriate to offset this benefit by the amount of the funds

that Hyundai expended in building the port facilities. Appx1060.

   Commerce then explained why it did not view the GOK's provision of

funds toward construction of the port facilities and its concession of fee-

collection rights as akin to the Rubber Guarantee Price Scheme

considered in Commerce's investigation into Sri Lankan tire production.

Appx1060-1061. Specifically, Commerce explained that the Sri Lankan

program required private actors to pay above-market prices for goods,



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and then await government reimbursement of arefund of the difference

between the above-market and market price. Appx1061. Here, however,

the GOK did not require Hyundai to buy anything, or to perform actions

to benefit others. Id. Rather, Hyundai built the port for its own benefit,

with government assistance. Appx1060-1061.

III.   SUMMARY OF ARGUMENT

   Hyundai does not persuade that Commerce erred in finding that

Hyundai benefited from the GOK's partial funding of Hyundai's port-

building activities and concession of fee-collection rights. Rather, for the

reasons described in the Government's response brief and the additional

reasons detailed below, the Court should affirm Commerce's

contribution and benefit findings regarding Hyundai's port facilities at

North Incheon Harbor.

IV.    ARGUMENT

   Hyundai, which has production facilities proximate to North Incheon

harbor, constructed port facilities there for which the GOK [

                                            ]. Appx1022-1023; Appx8221;

Appx8227; Appx8239-8244. To comply with Korean law requiring public

ownership of port facilities, Hyundai agreed to transfer ownership of



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the port facilities to the GOK. See, e.g., Appx 6287-6288. The GOK

agreed to allow Hyundai to use the port facilities without paying fees

that Hyundai would otherwise owe the GOK as the facilities' owner for

aperiod of 41 years and 8months. Appx1023; Appx6288; Appx8240;

Appx8402. The GOK additionally transferred to Hyundai its right to

collect fees from other users of the port facilities for the same period of

time. Appx1023; Appx1059; Appx8229-8230 ([                              1);

Appx8239-8240; Appx8257-8259; Appx8401-8403.

   Hyundai argues that Commerce has previously found that "fee

exemptions" are countervailable only where they are "excessive" in

relation to "the useful life of the constructed assets" to which they relate.

Hyundai's Brief at 17 (quoting Issues and Decision Memorandum

accompanying Certain Cold-Rolled Carbon Steel Flat Products From the

Republic of Korea, 67 Fed. Reg. 62,102 (Dep't Commerce Oct. 3, 2002)

(final affirmative countervailing duty deter.) at 20, cmt. 11 ("CR from

Korea 2000 IDM")); see also id. at 17-18 (collecting cases). Hyundai

argues that the port usage rights that it received are not set to last

longer than the useful life of the port facilities it constructed. Id. at 18-

21. Hyundai also argues that the rights' value was calibrated to



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compensate it for construction costs, and thus should be treated as the

GOK's repayment of adebt, rather than as acontribution benefiting

Hyundai. Id. at 18-19, 21-36.

  As detailed below, Hyundai has not shown any error in Commerce's

findings.

  As an initial matter, and as pointed out in Nucor's rebuttal brief, the

principal precedents on which Hyundai relies involved situations in

which arespondent was exempted from paying port usage fees of its

own, but was not also given the right to collect fees from others.

Hyundai's Brief at 17-18; see also Appx20782. For example, in the CR

from Korea 2000 IDM, Commerce noted that Korea's Harbor Act

authorizes the GOK to provide private companies that build port

facilities (and which must transfer ownership to the GOK under Korean

law) with "free usage of the facility and the right to collect fees from

other users of the facility ...." CR from Korea 2000 IDM at 20.

However, the respondent in that case received only the right to "free

use" of the facilities in question through "exemptions of fees." Id. at 20,

49-50. Likewise, in the 2011 administrative review of the countervailing

duty order on Korean CORE, the respondent (which was the same



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company that was at issue in the CR from Korea 2000 IDM) received the

right to "free use of harbor facilities" from the GOK, in the form of "an

exemption of harbor fees," but does not appear to have received any

other rights. Issues and Decision Memorandum accompanying

Corrosion-Resistant Carbon Steel Flat Products From the Republic of

Korea, 78 Fed. Reg. 55,241 (Dep't Commerce Sept. 10, 2013)

(preliminary results of countervailing duty admin. rev.; 2011) at 11.

   Contrary to Hyundai's arguments, see Hyundai's Brief at 17-21,

where arespondent receives not only the right to use port facilities

itself for free, but the right to collect fees from others, Commerce has

not determined whether abenefit exists by rotely comparing the length

of those rights' endurance to the facilities' average useful life ("AUL").

Rather, Commerce has asked whether the GOK has allowed the

respondent to exercise ownership-like rights over the facilities for an

extended time period. See Issues and Decision Memorandum

accompanying Certain Cut-to-Length Carbon-Quality Steel Plate from

the Republic of Korea, 72 Fed. Reg. 38,565 (Dep't Commerce July 13,

2007) (final results of countervailing duty admin. rev.) at 6-7 ("CTL

Plate from Korea 2005 IDM"); see also id. at 11 ("{W}hat is at issue is



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not the precise AUL of this specific pier, but whether {Dongkuk Steel

Mill Co., Ltd.'s ("DSM"){ 50-year lease of the pier, with terms that

provide for the ability to charge unregulated user fees, is so long a

period that it effectively renders ownership of the facility to DSM.")

  Commerce followed this approach in the 2017 administrative review

of the countervailing duty order on Korean hot-rolled steel flat products,

which considered the same agreement between Hyundai and the GOK

that is at issue here. While Commerce found that afinancial

contribution existed there as aresult of an adverse inference, it also

noted, in explaining its benefit calculation, that "once ownership {of the

port facilities{ reverted to the GOK, Hyundai Steel was authorized to

operate the wharf for aspecific period, regardless of the amount of fees

collected and amount of the company's personal usage of the harbor

facilities." Issues and Decision Memorandum accompanying Certain Hot-

Rolled Steel Flat Products From the Republic of Korea, 85 Fed. Reg.

64,122 (Dep't Commerce Oct. 9, 2020) (final results of countervailing

duty admin. rev., 2017) at 7("HR from Korea 201 7IDM"). In other

words, the relevant issue was that the GOK provided Hyundai not just




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with the ability to use the port for free, but with other ownership-like

rights.

   Commerce again examined this same agreement between the GOK

and Hyundai in the 2018 administrative review of the countervailing

duty order on Korean cold-rolled steel, and followed the same approach.

Issues and Decision Memorandum accompanying Certain Cold-Rolled

Steel Flat Products From the Republic of Korea, 86 Fed. Reg. 7,063

(Dep't Commerce Jan. 26, 2021) (preliminary results of countervailing

duty admin. rev.; 2018) at 30-32 (unchanged in final). Commerce found —

as here —that Hyundai not only was provided with free access to the

port facilities, but with "the right to operate" those facilities, inclusive of

"collect{ing} fees from third-party users ...." Id. at 31. Rather than look

to the AUL of the port facilities to determine whether abenefit existed,

Commerce looked to whether the agreement provided Hyundai with

rights that would normally only accrue to the facilities' owner.

   Commerce followed the same approach here. Appx1059. Commerce

explained that prior cases involving not only free-usage rights but fee-

collection rights were relevant because the agency treated the "fees

collected from third parties ...as recurring subsidies" in each of them.



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Id. Commerce also noted that, as an additional point of relevance, these

cases each involved the right to collect such fees over an "extended

period." Id.

   Hyundai argues that the nearly-42-year duration of its fee-collection

rights is not "so long aperiod that it effectively renders ownership of the

facility" to Hyundai. Hyundai's Brief at 21 (quoting CTL Plate from

Korea 2005 IDM at 11). However, Hyundai's only basis for this assertion

is the facilities' presumed AUL of 50 years. See id.' But as Commerce

has explained, it is not the facilities' AUL that controls the analysis.

CTL Plate from Korea 2005 IDM at 11. Rather, the question is whether

Hyundai's agreement with the GOK gives Hyundai the right to act as de

facto owner of the facilities for an extended period of time. See id.

   Hyundai fares no better with its argument that by transferring

ownership-like rights to Hyundai, the GOK was simply repaying adebt.

Hyundai's Brief at 23-36. Hyundai argues that the port facilities at issue

here are "public works" and that by building them, Hyundai allowed the



1     According to Internal Revenue Service Publication 946, the AUL
for land improvements such as wharves and docks is not 50 years, but
20. See Internal Revenue Serv., U.S. Dep't of Treasury, Publication
946 -How to Depreciate Property (Mar. 3, 2022) at 17 and 98, available
at https://www.irs.gov/pub/irs-pdf/p946.pdf.


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GOK "to spend the national budget more efficiently." Id. at 25-27; see

also Appx14765-14766. Hyundai stresses that the 42-year duration of its

fee-collection rights was determined based on estimates of how long it

would take for Hyundai to collect fees equal to Hyundai's costs to build

the facilities. Id. at 27-28. Hyundai also likens the situation here to that

underlying Government of Sri Lanka v. United States, 308 F. Supp. 3d

1373 (Ct. Int'l Trade 2018) ("GOSL"). Id. at 29-34.

  These claims are not compelling. As Commerce noted, the record does

not establish that Hyundai built the port facilities as public works or for

the public good. Appx1059. Rather, Hyundai "receive{d} assistance for

building aport for its own use." Id. Specifically:

      {T}he essence of this program is that the GOK helped Hyundai
      Steel build a port for its own use for an extended period of
      time. The GOK provided the benefit for this program through
      reimbursements as well as forgoing revenue that the GOK
      was otherwise entitled to collect, such as berthing fees and
      other user fees.

Appx1060. Indeed, as Hyundai conceded, "no other party" besides itself

"has used the harbor to date."Appx6289.

   Moreover, Hyundai's actions undermine its claim that, in

transferring fee-collection rights, the GOK was simply repaying adebt.




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The fact that the port facilities have no users other than Hyundai, as

well as Hyundai's business decision to decline to collect moneys owed to

it by an unaffiliated business operator, indicate that the relationship

between Hyundai and the GOK was not simply that that of creditor and

debtor. See, e.g., Appx6289; Appx15189-15190. Had the fee-collection

rights at issue been nothing more than the GOK's payment of adebt,

Hyundai would operate the port to ensure collection of the amount

"owed" by the GOK. Instead, Hyundai's actual behavior supports

Commerce's conclusion that "the GOK helped Hyundai Steel build a

port for its own use for an extended period of time." Appx1060.

  For this reason, Hyundai's argument that the GOK determined the

duration of the fee-rights conveyed to Hyundai based on the GOK's

estimates of how long it would take to collect fees equal to Hyundai's

construction costs rings hollow. Further, as Commerce noted in

considering the same agreement between Hyundai and the GOK in the

HR from Korea 2017 IDM, the port-usage and fee-collection rights are

not capped at the amount of the company's construction costs:

     The reimbursements received by Hyundai Steel are not
     limited by the amount of the costs that Hyundai Steel
     incurred to construct the wharf; instead, once ownership



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     reverted to the GOK, Hyundai Steel was authorized to operate
     the wharf for aspecific period, regardless of the amount of fees
     collected and amount of the company's personal usage of the
     harbor facilities.

HR from Korea 2017 IDM at 7.

  Finally, GOSL is not apposite here. In the proceeding underlying

that case, the Sri Lankan government required tire companies to pay

above-market rates for rubber purchased from domestic suppliers, and

then await the government's reimbursement of the difference between

the above-market rates and market prices. GOSL, 308 F. Supp. 3d at

1379. The court held that this scheme essentially required tire

companies to make interest-free loans to the Sri Lankan government.

Id. at 1382. The situation is palpably different here, where Hyundai

received government support to defray Hyundai's costs for constructing

port facilities advantageous to Hyundai, as well as fee-collection rights

that were not capped based on those costs. Appx1060-1061.

  In sum, Hyundai does not persuade that there is any error in

Commerce's contribution and/or benefit determinations. Rather,

the agency's findings on both counts are reasonable, supported by




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the record, and in accordance with prior precedent. These findings

should accordingly be affirmed.

V.     CONCLUSION

     For the reasons discussed above, Nucor respectfully submits

that the Court affirm Commerce's contribution and benefit

findings with respect to Hyundai's port facilities at North Incheon

Harbor.

                                      Respectfully submitted,

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Dated: September 29, 2022




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                   CERTIFICATE OF COMPLIANCE

     Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies

that this brief complies with the word limitation requirement. The word

count for Defendant-Intervenor Nucor Corporation's Response Brief, as

computed by Wiley Rein LLP's word processing system (Microsoft Word

2021), is 2,798 words.



                            /s/ Alan H. Price
                         (Signature of Attorney)

                            Alan H. Price
                          (Name of Attorney)

                          Nucor Corporation
                          (Representative Of)

                          September 29, 2022
                                (Date)
